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      SIKORSKY AIRCRAFT CORPORATION
  8   AND UNITED TECHNOLOGIES CORPORATION
  9                        UNITED STATES DISTRICT COURT
 10
                        SOUTHERN DISTRICT OF CALIFORNIA
 11
 12   D.F., a minor, by and through his            Case No. 13-cv-00331-GPC-KSC
      Guardian Ad Litem, TASHINA
 13
      AMADOR, individually and as successor        Judge: Hon. Gonzalo P. Curiel
 14   in interest to Alexis Fontalvo, deceased,    Magistrate: Hon. Karen S. Crawford
      and T.L., a minor, by and through her
 15   Guardian Ad Litem, TASHINA                   MEMORANDUM OF POINTS AND
 16   AMADOR,                                      AUTHORITIES IN SUPPORT OF
                                                   SIKORSKY’S MOTION IN LIMINE
 17                      Plaintiffs,               NO. 2 - MOTION TO EXCLUDE
      vs.                                          PREJUDICIAL PHOTOS, VIDEOS
 18                                                AND TESTIMONY
 19   SIKORSKY AIRCRAFT
      CORPORATION, et al.,                         [Filed Concurrently with Notice of
 20                                                Motion and Motion]
 21                      Defendants.

 22                                                Date:        April 6, 2018
                                                   Time:        1:30 p.m.
 23                                                Courtroom:   2D
 24
 25
 26
 27
 28

      MEMORANDUM OF POINTS AND AUTHORITIES, MIL NO. 2
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  1                  MEMORANDUM OF POINTS AND AUTHORITIES
  2         Pursuant to Federal Rules of Evidence 402 and 403, Defendants Sikorsky
  3   Aircraft     Corporation   and   United   Technologies     Corporation    (collectively
  4   “Sikorsky”) hereby submit the following Motion in Limine to exclude irrelevant and
  5   highly prejudicial evidence, including “death scene photos” and testimony
  6   describing the decedent under the aircraft after it collapsed (including any
  7   description of a subsequent collapse of the aircraft during the recovery mission),
  8   autopsy photographs of the decedent, and any photographs and videos from the
  9   decedent’s funeral (including tribute videos). Similarly, Sikorsky requests that any
 10   references to whether or not the decedent survived the initial collapse be excluded.
 11         Plaintiffs’ decedent was killed when a CH-53E cargo helicopter collapsed
 12   while he was attempting to remove the left main landing gear pin from underneath
 13   the aircraft. The weight of the helicopter caused blunt force trauma, killing him
 14   instantly. During the recovery mission, the fire department used an air bladder to
 15   lift the aircraft. However, a failure of the air bladder caused the helicopter to re-
 16   collapse on the decedent. The aircraft was eventually lifted using a stronger air
 17   bladder and reinforced with wooden trusses and a jack. Plaintiffs originally pursued
 18   a Survivor Action against Sikorsky in their Second Amended Complaint; however,
 19   following the Parties’ stipulation, this Court dismissed with prejudice Plaintiffs’
 20   Survivor Action. (See ECF No. 119.)
 21         Despite Plaintiffs’ dismissal of their Survivor Action and this Court’s Order,
 22   Plaintiffs intend on presenting to the jury a significant amount of irrelevant and
 23   highly inflammatory evidence that will indisputably prevent Sikorsky from having a
 24   fair trial. Specifically, Plaintiffs have identified and we ask the Court to exclude the
 25   following:
 26       photographs of the decedent under the aircraft, including NCIS Report
 27         Enclosure MIL073354-073369 and MIL073375;
 28


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  1       the decedent’s autopsy reports and accompanying autopsy photographs,
  2         including NCIS Report Enclosure MIL073415-073442;
  3       testimonial descriptions of the decedent under the aircraft after it
  4         collapsed, including any evidence regarding the subsequent collapse of
  5         the aircraft during the recovery mission;
  6       testimony regarding whether the decedent survived the initial collapse;
  7       photographs and videos from the decedent’s funeral or photographs of
  8         his coffin; and
  9       tribute videos.
 10         A.    Photographs of Accident Scene and Autopsy.
 11         Accident scene photographs from the Navy’s criminal NCIS investigation
 12   report, titled “Death Scene Photos” include over 40 color photographs of the
 13   decedent, including close up photographs of his face, body, and blood while he is
 14   pinned under the aircraft.    The Navy’s autopsy report includes detailed color
 15   photographs of the decedent’s face, body, and gear following recovery from
 16   underneath the aircraft. These include numerous photographs of the decedent’s
 17   unclothed body, his crushed face and skull, and his blood-soaked helmet.
 18         These photographs should be excluded because they do not make any fact of
 19   consequence in this litigation more or less probable. Fed. R. Evid. 401 and 402.
 20   Sikorsky does not dispute that the decedent died in this incident. (See ECF No. 229
 21   at p. 109.) Moreover, Plaintiffs are not pursuing a Survivor Action against Sikorsky,
 22   so the manner, cause, and time of death are not at issue. (See ECF No. 119.) As a
 23   result, these photographs are completely irrelevant. Fed. R. Evid. 401 and 402. To
 24   the extent Plaintiffs want to depict the accident site or wreckage for some other
 25   purpose, there are many photographs they can use which do not depict the decedent
 26   in this manner.
 27         Besides lacking any relevance, photographs of this nature are inadmissible
 28   when they are of such “gruesome and horrifying nature that [their] probative value


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  1   is outweighed by the danger of inflaming the jury.” United States v. Brady, 579
  2   F.2d 1121, 1129 (9th Cir. 1978). These cumulative photographs depicting the
  3   deceased in such a manner should be excluded because they will cause the jury to
  4   decide the case on an emotional basis rather than on the evidence presented. Fed. R.
  5   Evid. 403. Because these particular photographs do not lend weight to any issues in
  6   this case and have no probative value, the danger of unfair prejudice to Sikorsky is
  7   compounded.
  8         Plaintiffs should also be precluded from presenting any evidence or
  9   testimony describing the decedent’s body under the aircraft under the initial
 10   collapse, including the subsequent collapse of the aircraft following the failure of
 11   the air bladder. As discussed above, Plaintiffs’ Survivor Action was dismissed with
 12   prejudice. (See ECF 119.) Therefore, whether or not the decedent survived the
 13   initial collapse is wholly irrelevant to this case. Fed. R. Evid. 401 and 402. In
 14   addition, Sikorsky was not involved in the recovery mission, and Plaintiffs have not
 15   alleged so. This evidence, therefore, does not make the actual issues in this case
 16   more or less probable in any way. The only purpose of introducing emotional
 17   inflammatory evidence of the aircraft re-collapsing on the decedent would be to
 18   prejudice Sikorsky by eliciting a response from the jury that is not justified by the
 19   evidence. Fed. R. Evid. 403. Any reference to the subsequent collapse, or whether
 20   or not the decedent survived the initial collapse, is highly prejudicial, particularly in
 21   light of the fact that there is no Survivor Action.
 22         B.     Photographs of decedent’s funeral, coffin or tribute video.
 23         According to this Court’s Pretrial Order, it appears that Plaintiffs also intend
 24   on showing the jury photos taken after the incident. (See ECF 229 at p. 30.)
 25   Although Plaintiffs intend on using this evidence at trial, Plaintiffs have not
 26   provided Sikorsky with these exhibits. Plaintiffs production, therefore, fails to give
 27   Sikorsky sufficient notice of the documents Plaintiffs will introduce at trail, fails to
 28   allow Sikorsky to meaningfully object specifically to the admissibility of those


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  1   documents, and fails to facilitate the introduction of evidence at trial as required by
  2   Federal Rules of Civil Procedure Rule 26(a)(3)(A)(iii). To the extent any of these
  3   photographs and videos include the decedent’s funeral, including any photographs
  4   depicting the coffin and the emotional state of the guests that attended, or any
  5   tribute video, Sikorsky asks that they be excluded.
  6         Besides the fact that Plaintiffs failed to provide Sikorsky with these exhibits,
  7   these photographs and videos should be excluded because they do not tend to make
  8   any fact of consequence in this litigation more or less probable. Fed. R. Evid. 401
  9   and 402. This evidence will cause the jury to decide this case on an emotional basis
 10   rather than on the evidence presented. Id. at 403.
 11         For the above reasons, Sikorsky respectfully requests that this Court grant its
 12   Motion in Limine No. 2 and exclude the following evidence and testimony: (1)
 13   photographs of the decedent under the aircraft, including NCIS Report Enclosure
 14   MIL073354-073369 and MIL073375; (2) the decedent’s autopsy reports and
 15   accompanying     autopsy    photographs,     including   NCIS     Report    Enclosure
 16   MIL073415-073442; (3) testimonial descriptions of the decedent under the aircraft
 17   after it collapsed, including any evidence regarding the subsequent collapse of the
 18   aircraft during the recovery mission; (4) testimony regarding whether the decedent
 19   survived the initial collapse; (5) photographs and videos from the decedent’s funeral
 20   or photographs of his coffin; and (6) tribute videos.
 21
 22   Dated: March 23, 2018                  FITZPATRICK & HUNT,
 23                                          PAGANO, AUBERT, LLP

 24
 25                                       By: /s Christopher S. Hickey
                                             James W. Hunt
 26                                          Christopher S. Hickey
 27                                          Attorneys for Defendants
                                             Sikorsky Aircraft Corporation and
 28
                                             United Technologies Corporation

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